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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                          §       CASE NO. 21-60098
CORTLAND ENERGY, LLC,                           §
                                                §       CHAPTER 11 PROCEEDING
        Debtor                                  §       SUBCHAPTER V
     PEARL SWITCH, LLC’S NOTICE OF ELECTION UNDER 11 U.S.C. § 1111(b)

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE DAVID R. JONES:

        COMES NOW, PEARL SWITCH, LLC ("Pearl") by and through its attorney of record

hereby gives notice to the Debtor and to the Court of its election under 11 U.S.C. § 1111(b) to

have its claim treated as a fully secured.

        By making such election, Pearl’s total claim must be treated as a single secured claim for

purposes of plan confirmation.

        Pearl asserts that the sales exception under section 1111(b)(1)(A)(ii) does not apply

because the Debtor’s plan (i) is illusory and therefore is not a sale “under the plan” and (ii) attempts

to prevent Pearl from exercising a credit bid. Further, Pearl asserts that a sale of all of a debtor’s

assets under a plan is not permitted in a subchapter v context.

                 Respectfully Submitted,
                                                    HOWLEY LAW PLLC

                                                    /s/ Eric B. Terry_____________
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                                                    Eric B. Terry, State Bar No. 00794729
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                                                    COUNSEL FOR PEARL SWITCH, LLC
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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served upon the following
parties by the following means, in accordance with the Federal Rules of Bankruptcy Procedure, on
this 28th day of April 2022.


       Counsel for Debtor (via ECF)
       Susan Tran Adams
       Tran Singh LLP
       2502 La Branch Street
       Houston, TX 77004

       Debtor (by regular first-class mail)
       Cortland Energy, LLC
       3701 Kirby Drive
       Houston, TX 77098

       Subchapter V Trustee (via ECF)
       Jarrod B Martin
       Chamberlain Hrdlicka
       1200 Smith Street
       Suite 1400
       Houston, TX 77002

       The United States Trustee (via ECF)
       Office of The United States Trustee
       515 Rusk Ave., Ste. 3516
       Houston, TX 77002

                                                      /s/ Eric B. Terry
                                                      Eric B. Terry
